Case 3:15-cv-00107-JPG-DGW Document 44 Filed 06/14/16 Page 1 of 1 Page ID #253




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS


 KIM KUHNER, Individually and as            )
 Guardian of the Estate of J.K. a Minor,    )
                                            )
        Plaintiff,                          )
                                            )
 vs.                                        )       Case No. 15-cv-00107-JPG-DGW
                                            )
 HIGHLAND COMMUNITY UNIT                    )
 SCHOOL DISTRICT NO. 5, et al.,             )
                                            )
        Defendants.                         )

                                           JUDGMENT

        This matter having come before the Court, the issues having been heard, and the Court

 having rendered a decision,

        IT IS HEREBY ORDERED AND ADJUDGED that this case is DISMISSED with

 prejudice.

 DATED: 6/14/2016
                                                    Justine Flanagan
                                                    Acting Clerk of Court


                                                    s/_Jo Ann Juengel_______
                                                      Deputy Clerk


 Approved:      s/J. Phil Gilbert
                J. PHIL GILBERT
                DISTRICT JUDGE
